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Attorneys for Plaintiff

MONTANA ElGHTEENTH JUD|C|AL DlSTRlCT COURT
GALLAT|N COUNTY

 

SOHE|L VERD|,

cAusENo_ !/ '75' !4‘

P|aintiff,
vs.

C|TY OF BOZEMAN, C|T¥ OF
BOZEMAN POL|CE DEPARTMENTl
C|T¥ OF BOZEMAN POL|CE
DEPARTMENT SERGEANT GREG
MEGARGEL, in his individual and
official capacity, C|TY OF BOZEMAN
POL|CE DEPARTMENT OFF|CER
MARK ZlEGLER, in his individual and
official capacity, and JOHN DOES 1-
10,

coMPLAlNT AND DEMAND FoR
JuRY TRlAL
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Defendants.

 

 

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COMES NOW Soheil “Jesse" Verdi1 by and through his attorneys, Ryan K.

Jackson and Thomas D. Shea, Jr., and complains as follows:
PART|ES

1. P|aintiff Soheil “Jesse" Verdi (“hereinafter Mr.Verdi") was a resident of
Bozeman1 Ga||atin County, Montana at all times relevant to this complaint and is 7
now a resident of Tooele, Utah.

2. Defendant, the City of Bozeman, is a municipal corporation existing
under §7-1-4101 et seq.1 M.C.A., which operates and employs law enforcement
personnel through the City of Bozeman Police Department.

3. The City of Bozeman Police Department is the law enforcement
agency of the City of Bozeman which operates under §7-32-4101 et seq., M.C.A.

4. Mark Ziegler (hereinafter "Ziegler”), upon information and belief, is a
resident of Bozeman, Ga||atin County, Montana and at all times relevant herein was
employed as a Police Officer for the City of Bozeman Police Department and City of
Bozeman.

5. Greg Megargel (hereinafter “Megargel"), upon information and belief, is
a resident of Bozeman, Ga||atin County, Montana and at all times relevant herein
was employed as a Police Officer for the City of Bozeman Police Department and
City of Bozeman.

6. The John Does 1-10 are other officers, agents and employees of the

City of Bozeman and of the City of Bozeman Police Department, who Mr. Verdi does

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not presently know, but upon confirmation as to identity, Mr. Verdi will identify by an
appropriate amendment to this Complaint and Demand for Jury Trial.
AL|£GAT|ONS CONC§RN|NG Jl._lR|D|CT|ON AND VENUE

7. This Court has subject matter jurisdiction over this action pursuant to §
3-5-302(b) and (c)1 M.C.A. 1

8. This Court has jurisdiction pursuant to 28 U.S.C.A. §1343 as plaintiff
sets forth claims seeking redress for deprivation under color of state law of rights
existing under the Fourth and Fourteenth Amendments to the United States
Constitution and 42 U.S.C.A. §1983 and §1988, seeking damages and attorneys’
fees. 7

9. This Court has personal jurisdiction over the parties in this matter for the

reason that: (a) the commission of the acts of the defendants resulted in the accrual

of a tort action within Montana. Rule 4(B)(1)(b), M.R.Civ.P.

10. Venue is proper in the Montana Eighteenth Judicial District Court,
Ga||atin County, because this is a civil action involving the commission of a tort
within Montana and the defendants reside in Ga||atin County.

MN_D

11. On August 12, 2007, the police were called for a welfare check on_ Mr.
Verdi after a telephone call to 911 from Mr. Verdi’s acquaintance Mr. Verdi’s
acquaintance indicated that she was concerned because Mr. Verdi was not

answering his telephone.

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12. Zieg|er and Megargel were_dispatched to Mr. Verdi’s residence to
check on Mr. Verdi’s welfare. When they arrived at his residence, Mr. Verdi was
sleeping and was non-responsive to the repeated knocking (which lasted for
approximately 40 minutes) on his front door by the officers.

13. After failed attempts at locating Mr. Verdi, the officers went around his
apartment complex inquin'ng as to his location. Through this investigation the
officers discovered Mr. Verdi was in his apartment Upon awakingand hearing that-
someone was at his door, Mr. Verdil naked and intoxicated, approached his door to
find Zieg|er and Megargel in his doonlvay.

14. Approximately 11 seconds after they initiated contact with Mr. Verdi,
Zieg|er tased Mr. Verdi in the back without any justification1 causing him to fall face
down onto the outside deck1 and crush his skull.

15. After Mr. Verdi fell to the ground he was unresponsive to the officers’
questions1 but nonetheless the officers rolled Mr. Verdi over and placed handcuffs
on him. Despite being handcuffed and entirely unresponsivel the ofhcers repeatedly
tightened the handcuffs over a period of 5 minutes until medical personnel arrived.
Mr. Verdi was bleeding at the time.

16. After the ambulance arrivedl one of the medical personnel suggested
to Zieg|er that Zieg|er_should take off Mr. Verdi’s handcuffs. Zieg|er then asked the
medical personnel if he should “uncuff him” and the medical personnel said yes.

Following this, Zieg|er took off Mr. Verdi’s handcuffs

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17. immediately after the medical personnel left the scene, Megargel,
according to the microphone worn on his uniform on the night of the incident, stated
to Zieg|er, l‘Now we’re fuckedl”' Zieg|er1 according to his body microphone,
responded', “Yeah...what am | gonna clear this as? Fuck, public assistance...with' a
tasing?” in an incredulous manner. Megargel immediately replied, “Fuckin ‘A' baby."

18. According to the body microphones1 Zieg|er and Megargel agreed that
Mr. Verdi had not committed a crime. (Mr. Verdi-was in fact not charged with a
crime.) Zieg|er and Megargel then discussed how to process the incident and
elected to write up the incident as a protective custody matter. 1

19. immediately after the incident, Mr. Verdi was rushed to the hospital for
his injuries. After his release from the hospital, Mr. Verdi had three brain surgeries in
order to remove excessive blood on his brain and relieve pressure to attempt to
remedy his excruciating headaches which resulted from the excessive force placed
upon him.

20. As a result of these surgeries, Mr. Verdi currently has a large metal
plate and metal screws in his skul|.' The metal plate and screws constantly move
and are a source of daily pain, extreme worry1 humiliation, and concern on the part
of Mr. Verdi. |n addition1 Mr. Verdi has a permanent visible indentation on his skull
resulting from his surgeries.

21. |n addition to the extremely invasive and frightening brain surgeries,
Mr. Verdi also sought treatment through numerous pharmaceutical medications,
treated with headache clinics, and continues to suffer from his injuries sustained on
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August 12, 2007. To date, Mr. Verdi’s medical expenses arising out of this incident 7
are approximately $150,000.00.

22. As a result of the excessive force placed upon him, Mr. Verdi suffers
from severe and permanent mental and physical injuries Among other things Mr.
Verdi suffers from debilitating headaches memory loss periodic slurred speech and

vision problems and multiple physical limitations brought about by the injuries to his

skull.
couNT1
VlOLAT|ON OF C|V|L RlGHTS UNDER 42 U.S.C. §1983: USE OF
EXCESS|VE FORCE AND DUE PROCESS V|OLAT|ON
23. P|aintiff realleges the above paragraphs 1 - 22 as though fully set forth
herein.

24. As a result of the unjustified and excessive use of force by Megargel
and Zieg|erl Mr. Verdi has suffered great pain of body and mind, as well as extreme
emotional distress

25. The force used by Zieg|er and Megargel on the evening of August 12,
2007 was excessive This excessive force violated the Fourth Amendment‘s
objectively unreasonable standard, and violated Mr. Verdi’s Due Process rights

26. The defendants exhibited a callous or reckless indifference to Mr.
Verdi’s welfare and constitutional rights

27. As a direct and proximate cause of the above, Mr. Verdi suffered
damages including but not limited to, compensatory damages economic damages
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punitive damages emotional distress pain and suffering, and attorneys’ fees under

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2 42 u.s.c. §1988_

3 couNT 2

4 V|OLAT|ON OF C|VlL RlGHTS UNDER 42 U.S.C. §1983: AGA|NST THE
: C|TY OF BOZEMAN AND THE C|T¥ OF BOZEMAN POL|CE DEPARTMENT

7 28. P|aintiff realleges the above paragraphs 1-27 as though fully set forth
3 herein.

9 29. Mr. Verdi’s representatives have asked for the Policies and Procedures

10 Manua| relating to tasing incidents To date, the Bozeman Police Department has

ll not provided the manual.

12

30. Upon information and belief, the excessive force and constitutional
13
14 violations were undertaken pursuant to a policy and practice of the City of Bozeman

15 Police Department.
16 31. Upon information and belief, the City of Bozeman Police Department’s

17 policy was violative of the Fourth Amendment and the Due Process clause.

18 732. Upon information and beliefl the City of Bozeman and the City of
19 _

Bozeman Police Department failed to properly train defendants Zieg|er and
20 l

Megarge|.
21
22 33. As a direct and proximate cause of the above, Mr. Verdi suffered

23 damages including, but not limited to, compensatory damages economic damages

24 punitive damages emotional distress pain and suffering, and'attorneys’ fees under

 

25 42 u.s.c. §1988_

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COUNT 3
MONTANA lSTATE LAW CLA|M: RESPONDEAT SUPER|OR

34. P|aintiff realleges paragraphs 1-33 as though fully set for the herein.

35_ ln committing the acts alleged in the preceding paragraphs Megargel
and Zieg|er, as well as others were the agents of the City of Bozeman Police
Department and the City of Bozeman and were acting within the scope and course
of their employment

36. Defendants City of Bozeman and City of Bozeman Police Department
are liable principals for all the torts committed by their agents who are acting under
color of the law.

COUNT 4
MONTANA STATE LAW CLA|M: NEGL|GENCE

37_ P|aintiff realleges the above paragraphs 1-36 as though fully set forth
herein.

38. A special relationship giving rise to a special duty on the part of
Megargel and Zieg|er arose given that the defendants undertook specific action to
allegedly protect Mr. Verdi. ln addition, a special duty arose on the part of the
defendants given that they had actual custody of Mr. Verdi. Megargel and Zieg|er
breached the duty owed to Mr. Verdi.

39. As a direct and proximate cause of the defendants’ negligence1 Mr.
Verdi suffered damages including, but not limited to, compensatory damages

economic damages emotional distress and pain and suffering

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COUNT 5

MONTANA STATE LAW CLA|M: NEG L|G ENT H|RlNG AND TRA|N|NG

40. P|aintiff realleges the above paragraphs 1-39 as though fully set forth
herein.

41. The City of Bozeman and the City of Bozeman Police Department
were negligent in the hiring and training of the defendant officers

42. As a direct and proximate result of the City of Bozeman’s and the City
of Bozeman Police Department’s negligent hiring and training practices Mr. Verdi
suffered damages includingl but not limited to compensatory damages economic
damages emotional distress and pain and suffering.

COUNT 6
MONTANA STATE LAW CLA|M: RES lPSA LOQU|TOR

43. P|aintiff realleges paragraphs 1~42 as though fully set forth herein.

44. The defendants were negligent in the tasing and care of Mr. Verdi on
August 12, 2008, and said negligence was the cause and proximate cause of Mr.
Verdi’s crushed skull. The injuries suffered by Mr. Verdi were not the kind of injuries
that would ordinarily occur in the absence of negligence

COUNT 7
MONTANA STATE LAW CLA|M: ASSAULT AND BATTERY AS AGA|NST
ALL DEFENDANTS

45. P|aintiff realleges the above paragraphs 1-44 as though fully set forth
herein.

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46. The officers acted intending to cause a harmful or offensive contact

` with Mr. Verdi, or an imminent apprehension of such a contact, and a harmful

contact directly resulted.

47. The ofhcers’ actions described above were within the scope of their
employment

48. As a direct and proximate result of the defendants’ harmful or offensive
contact Mr. Verdi suffered damages including, but not limited to compensatory
damages economic damages emotional distress and pain and suffering.

count a
MONTANA STATE LAW CLA|M: FALSE |MPR|SONMENT AS AGA|NST ALL
1 DEFENDANTS

49. P|aintiff realleges the above paragraphs 1-48 as though fully set forth
herein.

50. The officers restrained Mr. Verdi against his will and the restraint was
involuntary and unlawful.

51. The officers’ actions described above were within the scope of their
employment

52. As a direct and proximate result of Mr. Verdi’s false imprisonment by
the defendants Mr. Verdi suffered damages including1 but not limited tol
compensatory damages economic damages emotional distress and pain and

suffering.

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COUNT 9
MONTANA STATE LAW CLA|M: lNTENT|ONAL lNFLlCTION OF EMOT|ONAL
DlSTRESS AS AGA|NST ALL DEFENDANTS
53., P|aintiff realleges the above paragraphs 1-52 as though fully set forth
herein.
54. Defendants purposefully, knowing|y, voluntarily, reckless|y, and with
malice engaged in outrageous conduct by tasing Mr. Verdi without any justification.
55. Defendants’ acts were intended to produce emotional distress and the
defendants acted recklessly and in deliberate disregard of a high degree of
probability that emotional distress would result to Mr. Verdi from defendants’ actions
56. Defendants’ extreme and outrageous conduct has proximately caused
plaintiff to suffer severe emotional distress and severe emotional damages
57. P|aintiff has sustained and will continue to sustain damages as a result
of defendants’ extreme and outrageous conduct
58. As a direct and proximate result of the defendants’ intentional infliction
of'emotional distress Mr. Verdi suffered damages including, but not limited to,
compensatory damages economic damages emotional distress and pain and

suffering.

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COUNT 10
MONTANA STATE LAW CLA|M: NEGL|GENT lNFLlCTION OF EMOT|ONAL
D|STRESS AS AGA|NST ALL DEFENDANTS

59. P|aintiff realleges the above paragraphs 1-58 as though fully set forth
herein.

60. Serious or severe emotional distress to Mr. Verdi was the reasonably
foreseeable consequence of the defendants’ negligent acts or omissions

61. As a direct and proximate result of the defendants’ negligent and/or
intentional acts or omissions Mr. Verdi suffered damages including, but not limited
to, severe emotional distress compensatory damages economic damages
emotional distress and pain and sufferingl 1

COUNT 11
MONTANA STATE LAW CLA|M: PUN|T|VE DAMAGES - §§27-1-220, 221,
M.C.A. ”

62. P|aintiff realleges paragraphs 1- 61 as though fully set forth herein.

63. Megargel and Zieg|er acted with actual malice as they deliberately
acted in a conscious manner with intentional disregard to the high probability of
injury to Mr. Verdi, or deliberately acted with indifference to the high probability of
injury to Mr. Verdi.

64. As a result of Megargel’s and Zieg|er’s actions Mr. Verdi was in fact
injured, and upon any award of reasonable compensatory damages the jury, in its
discretion, should consider an award of reasonable punitive damages
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WHEREFORE, P|aintiff prays for relief as follows:

‘l.

Find that the defendants and all of them, violated P|aintist civil rights
under 42 U.S.C.A. §1983 by use of excessive force, and the violation of
the P|aintist Due Process rights which caused P|aintiff injury and award
P|aintiff for compensatory damages economic damages punitive
damages emotional distress pain and suffering, and attorneys’ fees and
costs in an amount to be proven at tria|;

For all state law claims order defendants to pay compensatory damages
economic damages emotional distress punitive damages where
applicable and pain and suffering sustained by P|aintiff in an amount to be
proven at trial;

Award P|aintiff such other and further relief as this Court may deem just

and proper;

DATED this ll+>day 6 ,~1:2009.

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Ryan K. Jackse

    

 

 

T omas D. Shea1 Jr.
Attorney for P|aintiff

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DEMAND FOR JURY TRlAL

P|aintiff Soheil “Jesse" Verdi hereby demands a trial by jury as to all issues so

DATED this May offéjjg<l/zoos

triable.

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Ryan K. 'Jack on

   

Thomas D. Sh , Jr.
Attorney for P|aintiff

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